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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA


    In re:                                                 CASE NO. 20-10846

    THE ROMAN CATHOLIC CHURCH OF THE                       SECTION “A”
    ARCHDIOCESE OF NEW ORLEANS
                                                           CHAPTER 11
                           Debtor.



                  EX PARTE MOTION TO WITHDRAW AS COUNSEL OF RECORD

             NOW INTO COURT comes the Official Committee of Unsecured Commercial Creditors

   (the “Commercial Committee”), and undersigned counsel, who respectfully move this Court for

   Hayley J. Franklin (“Franklin”) to be withdrawn as counsel of record to the Commercial

   Committee. In support, the Commercial Committee and Franklin (“Movants”) represent:

             1.     The Commercial Committee engaged the law firm of Stewart Robbins Brown &

   Altazan, LLC (the “Firm”) to represent it in this matter.

             2.     Franklin, an associate at the Firm and the Commercial Committee’s counsel of

   record, has recently accepted a position as a judicial law clerk starting September 18, 2023.

             3.     While Franklin is withdrawing as counsel of record, the Firm and its respective

   attorneys are continuing representation of the Commercial Committee in this matter. Thus,

   Franklin’s withdrawal will not result in prejudice to any litigants or the administration of justice.

             4.     Movants respectfully request entry of an order approving Franklin’s withdrawal

   effective no later than Friday, September 15, 2023.

             WHEREFORE, Movants respectfully request that the Court enter an order substantially

   in the form attached hereto as Exhibit “A” (I) granting the Withdrawal Motion; (II) approving
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   Franklin’s withdrawal as counsel of record to the Commercial Committee; and (III) granting such

   other relief deemed necessary and just.

                                        Respectfully Submitted by:

                                        STEWART ROBBINS BROWN & ALTAZAN, LLC

                                 By:    /s/ Hayley J. Franklin
                                        Paul D. Stewart, Jr. (La. Bar # 24661)
                                        dstewart@stewartrobbins.com
                                        William S. Robbins (La. Bar # 24627)
                                        wrobbins@stewartrobbins.com
                                        Brooke W. Altazan (La. Bar # 32796)
                                        baltazan@stewartrobbins.com
                                        Hayley J. Franklin (La. Bar # 39186)
                                        hfranklin@stewartrobbins.com
                                        301 Main St., Suite 1640
                                        Baton Rouge, LA 70801-0016
                                        Telephone: (225) 231-9998
                                        Facsimile: (225) 709-9467

                                        Counsel for the Official Committee of Unsecured
                                        Commercial Creditors




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                                      EXHIBIT A
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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA


    In re:                                                  CASE NO. 20-10846

    THE ROMAN CATHOLIC CHURCH OF THE                        SECTION “A”
    ARCHDIOCESE OF NEW ORLEANS
                                                            CHAPTER 11
                           Debtor.



                           ORDER GRANTING EX PARTE MOTION TO
                            WITHDRAW AS COUNSEL OF RECORD

             CONSIDERING the Ex Parte Motion to Withdraw as Counsel of Record [P-___] (the

   “Withdrawal Motion”) filed by Hayley J. Franklin (“Franklin”) along with the Court’s satisfaction

   that no litigants or parties in interest will be prejudiced by Franklin’s withdrawal as counsel of

   record in this matter given Stewart Robbins Brown & Altazan, LLC’s continued representation of

   the Official Committee of Unsecured Commercial Creditors, the Withdrawal Motion having been

   properly submitted ex parte, and for other good cause appearing therefore:

             IT IS ORDERED that the Withdrawal Motion is GRANTED;

             IT IS FURTHER ORDERED that Franklin be withdrawn as counsel of record to the

   Official Committee of Unsecured Commercial Creditors; and

             IT IS FURTHER ORDERED that Franklin shall serve this motion on the required parties

   under the Bankruptcy and Local Rules that will not receive notice through the ECF System and

   file a certificate of service to that effect within three (3) business days.
